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                              EXHIBIT J
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Gabby Hamm

From:                 Dylan Ciciliano
Sent:                 Sunday, March 28, 2021 9:28 PM
To:                   Connell, Monica; Gregory Garman; Gabby Hamm; pneligan@neliganlaw.com;
                      dbuncher@neliganlaw.com; Sarah Rogers; Teresa Pilatowicz; Talitha Gray; William Noall
Cc:                   Pronske, Gerrit; Van Horn, Eric; Kathman, Jason
Subject:              RE: In re NRA Bankruptcy - Excess Benefit Transactions
Attachments:          Re: Documents


Hello Monica,

It seems like we may have crossed wires. Please see the attached email sent on Wednesday March 24, 2021. Therein, we
identified bates numbers both in the body of the email and in the attached excel spreadsheets. With respect to the
spreadsheet over which Mr. Garman had privilege concerns, he permitted questioning at the time of the deposition and
expressly stated that he was not sure if the document was privileged. As you note, we have not clawed back the
document.


Dylan T. Ciciliano, Esq.

Attorney

Phone: 725 777 3000 | Fax: 725 777 3112

GARMAN | TURNER | GORDON
7251 AMIGO STREET, SUITE 210
LAS VEGAS, NV 89119

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From: Connell, Monica <Monica.Connell@ag.ny.gov>
Sent: Sunday, March 28, 2021 6:05 PM
To: Dylan Ciciliano <dciciliano@Gtg.legal>; Gregory Garman <Ggarman@Gtg.legal>; Gabby Hamm <ghamm@Gtg.legal>;
pneligan@neliganlaw.com; dbuncher@neliganlaw.com; Sarah Rogers <sbr@brewerattorneys.com>; Teresa Pilatowicz
<tpilatowicz@Gtg.legal>; Talitha Gray <tgray@Gtg.legal>
Cc: Pronske, Gerrit <gpronske@spencerfane.com>; Van Horn, Eric <ericvanhorn@spencerfane.com>; Kathman, Jason
<jkathman@spencerfane.com>
Subject: RE: In re NRA Bankruptcy ‐ Excess Benefit Transactions

Dylan:

Thank you for your response. Could you please identify the documents that form the basis of excess benefit
transactions reported in the NRA’s 2019 990 and taxes reported on the 4720, including those relied upon
invoices? Because we have been unable to identify the same despite review of the document production and extensive
questioning. Further, you produced an excel spreadsheet that we used to question Mr. LaPierre in part but asserted
that the same was privileged, although Debtors have made no move to claw it back. May I assume by your email that
you no longer assert privilege in regard to that document? In short, we do need to meet and confer. How about 3:00
EST?
                                                            1
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Best,

Monica



From: Dylan Ciciliano <dciciliano@Gtg.legal>
Sent: Sunday, March 28, 2021 3:47 PM
To: Connell, Monica <Monica.Connell@ag.ny.gov>; Gregory Garman <Ggarman@Gtg.legal>; Gabby Hamm
<ghamm@gtg.legal>; pneligan@neliganlaw.com; dbuncher@neliganlaw.com; Sarah Rogers
<sbr@brewerattorneys.com>; Teresa Pilatowicz <tpilatowicz@Gtg.legal>; Talitha Gray <tgray@Gtg.legal>
Cc: Pronske, Gerrit <gpronske@spencerfane.com>; Van Horn, Eric <ericvanhorn@spencerfane.com>; Kathman, Jason
<jkathman@spencerfane.com>
Subject: RE: In re NRA Bankruptcy ‐ Excess Benefit Transactions

[EXTERNAL]
Monica,

In light of today’s proceedings, I apologize for not meeting your deadline below.

Upon investigation, Debtors have produced the documents that form the basis of excess benefit transactions reported in
the NRA’s 2019 990 and taxes reported on the 4720, including relied upon invoices. Likewise, I’ve read transcripts where
your co‐counsel examined witnesses on those documents, including NRA‐BK‐00039547. I don’t believe there is actually a
dispute here. To the extent that you would still like to meet and confer, we’ll be available tomorrow. Please propose a
time.



Dylan T. Ciciliano, Esq.

Attorney

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From: Connell, Monica <Monica.Connell@ag.ny.gov>
Sent: Saturday, March 27, 2021 2:00 PM
To: Dylan Ciciliano <dciciliano@Gtg.legal>; Gregory Garman <Ggarman@Gtg.legal>; Gabby Hamm <ghamm@Gtg.legal>;
pneligan@neliganlaw.com; dbuncher@neliganlaw.com
Cc: Pronske, Gerrit <gpronske@spencerfane.com>; Van Horn, Eric <ericvanhorn@spencerfane.com>; Kathman, Jason
<jkathman@spencerfane.com>
Subject: RE: In re NRA Bankruptcy ‐ Excess Benefit Transactions

Counsel,


                                                            2
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I sent this email in Wednesday. Unless I missed it, I have not received a response. Please respond by 11:00 am EST
tomorrow.

Monica
917‐855‐0782

From: Connell, Monica
Sent: Wednesday, March 24, 2021 9:00 PM
To: Dylan Ciciliano <dciciliano@Gtg.legal>; Gregory Garman <Ggarman@Gtg.legal>; Gabby Hamm <ghamm@gtg.legal>;
pneligan@neliganlaw.com; dbuncher@neliganlaw.com
Cc: Pronske, Gerrit <gpronske@spencerfane.com>; Van Horn, Eric <ericvanhorn@spencerfane.com>; Kathman, Jason
(jkathman@spencerfane.com) <jkathman@spencerfane.com>
Subject: In re NRA Bankruptcy ‐ Excess Benefit Transactions

Counsel,

We have been endeavoring, through demands and various witnesses, to obtain information regarding the amount of
excess benefit transactions reported in the NRA’s 2019 990 and taxes reported on the 4720s including specifically the
documents that were relied upon to make those calculations and the manner of calculation. We have been met with
assertions of privilege. This is unacceptable and we would like to meet and confer with regard to this issue as soon as
possible. Please let me know when you are free.

Monica

Monica A. Connell
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New York State Office of the Attorney General
28 Liberty Street
New York, New York 10005
212‐416‐8965
Monica.Connell@ag.ny.gov


--------------------------------------------
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